Case 19-20512-MBK          Doc 11    Filed 05/31/19 Entered 05/31/19 13:27:35            Desc
                                          Page 1 of 2


                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
                                  TRENTON DIVISION

 In Re:                                           Case No. 19-20512-MBK

 Daniel Sachkowsky
                                                  Chapter 13
  dba Axis Builder

 Debtor.                                          Judge Michael B. Kaplan

  REQUEST FOR SERVICE OF NOTICES PURSUANT TO FED.R.BANKR.P. 2002(g)

        Please take notice that D. Anthony Sottile, as authorized agent for Home Point Financial
Corporation, a creditor in the above-captioned case, requests, pursuant to Rules 2002 and 9007
of the Federal Rules of Bankruptcy Procedure and §§102(1), 342 and 1109(b) of title 11 of the
United States Code, and 11 U.S.C. §§ 101, et seq., that all notices given or required to be given
and all papers served or required to be served in this case also be given to and served, whether
electronically or others on:
          D. Anthony Sottile
          Authorized Agent for Home Point Financial Corporation
          394 Wards Corner Road, Suite 180
          Loveland, OH 45140
          Phone: 513.444.4100
          Email: bankruptcy@sottileandbarile.com


 Dated:                                           /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
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                                            Page 2 of 2


                                 CERTIFICATE OF SERVICE

I certify that on May 31, 2019, a copy of the foregoing Request for Service of Notices was filed
electronically. Notice of this filing will be sent to the following party/parties through the Court’s
ECF System. Party/Parties may access this filing through the Court’s system:

       Timothy P, Neumann, Debtor’s Counsel
       timothy.neumann25@gmail.com

       Albert Russo, Chapter 13 Trustee
       docs@russotrustee.com

       Office of the United States Trustee
       ustpregion03.ne.ecf@usdoj.gov

I further certify that on May 31, 2019, a copy of the foregoing Request for Service of Notices
was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the following:

       Daniel Sachkowsky, Debtor
       284 Friendship Road
       Howell, NJ 07731

                                                    /s/ D. Anthony Sottile
                                                    D. Anthony Sottile
                                                    Authorized Agent for Creditor
                                                    Sottile & Barile, LLC
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    Email: bankruptcy@sottileandbarile.com
